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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

HENRY T. BREAM, III,                             No. 4:21-CV-00374

          Plaintiff,                             (Chief Judge Brann)

     v.

THE PENNSYLVANIA STATE
UNIVERSITY,

          Defendant.

                                   ORDER

     AND NOW, this 22nd day of September 2021, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that:

     1.   Defendant’s motion to dismiss for failure to state a claim (Doc. 13) is

          GRANTED WITH PREJUDICE.

     2.   The case is dismissed, and the Clerk of Court is directed to close the

          case file.



                                          BY THE COURT:


                                          s/ Matthew W. Brann
                                          Matthew W. Brann
                                          Chief United States District Judge
